
Batile, J.
We are unable to discover any error committed by the Judge in the. trial of the case in the Court below. The facts stated by the witnesses, if believed, certainly brought the case within the prohibition of the act under which he is indicted.
The testimony was fairly' submitted to the jury in the charge of the Court, and- with the result the defendant must be content. * See State vs. Duckworth, 1 Winston’s Rep., 243.
There is no ground upon which the motion to arrest the judgment can be sustained. The offences of tho owner of a slave, permitting him or her to go at large as a free person,- and to beep house as a free person, are of a cognate character,-and there can be no more objection to their being included in -the sainé count of an indictment, than there is for joining, in the same count, th# *56charge of an affray, and that of a mutual assault and battery.
At' all events, the objection ought to have been taken upon a motion to quash the indictment, and cannot be made available upon a motion in arrest of judgment. See Arch. Cr. Pl., 53, State vs. Allen, 4 Hawks, 356.
There is no error in the judgment, and it must besó, certified to the Superior Court.
